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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-cr-80160-DIMITROULEAS


  UNITED STATES OF AMERICA

         v.

  RAUL GORRIN BELISARIO,

         Defendant.
                                            I

                                       MOTION TO UNSEAL

         The United States of America, by and through its undersigned attorneys, respectfully

  requests that this Court unseal the Indictment, arrest warrant, and all other pleadings in this case.

  Federal law enforcement officials believe that unsealing the Indictment and publicizing the charges

  against RAUL GORRIN will assist law enforcement in apprehending the Defendant.

                                                 Respectfully submitted,



  ARIANA FARJARDO ORSHAN                         SANDRA L. MOSER
  UNITED STATES ATTORNEY                         ACTING CHIEF, FRAUD SECTION
                                                 CRIMINAL DIVISION

  Is/Michael B. Nadler
  Michael B. Nadler
                          ~                      /s/Vanessa Sisti Snyder
                                                 Vanessa Sisti Snyder
                                                                             i!P}
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